4:11-cr-03086-JMG-CRZ     Doc # 105   Filed: 06/19/12   Page 1 of 2 - Page ID # 275




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             4:11CR3086

vs.
                                              MEMORANDUM AND ORDER
RUBEN CARRILLO-CASTELLON,

                  Defendant.

      This matter is before the Court on defendant Ruben Carrillo-
Castellon's pro se notice of appeal (filing 102). The Clerk of the Court has
advised the Court in a memo (filing 103) that the notice of appeal appears to
be untimely, and has requested a ruling on the issue of its timeliness.
      Defendant's judgment was filed on February 2, 2012 (filing 84). Senior
District Judge Richard G. Kopf sentenced defendant to 87 months'
imprisonment after defendant pled guilty to conspiracy to distribute
methamphetamine in violation of 21 U.S.C. § 846. Defendant filed his notice
of appeal on June 18, 2012. Filing 102.
      Pursuant to Fed. R. App. P. 4(b), a criminal defendant's notice of appeal
must be filed within 14 days of the entry of judgment. The Court may extend
this deadline by an additional 30 days upon a finding of excusable neglect or
good cause. Fed. R. App. P. 4(b)(4). Defendant's notice of appeal was filed well
beyond either of these deadlines. Defendant has not requested an extension,
and the Court finds that his appeal is untimely. The Court will therefore
issue a certification that defendant's appeal is not taken in good faith,
pursuant to Fed. R. App. P. 24(a)(3)(A).
      Accordingly,

      IT IS ORDERED:

      1.    The Court finds that defendant's notice of appeal (filing 102) is
            not timely.

      2.    The Clerk of the Court shall not process an appeal to the United
            States Court of Appeals for the Eighth Circuit on the basis of
            defendant's notice of appeal.
4:11-cr-03086-JMG-CRZ   Doc # 105   Filed: 06/19/12   Page 2 of 2 - Page ID # 276




     3.    Pursuant to Fed. R. App. P. 24(a)(3)(A), the Court certifies that
           defendant's appeal is not taken in good faith, as the appeal is
           untimely and is without any apparent legal basis.

     4.    Pursuant to Fed. R. App. P. 24(a)(4), the Clerk of the Court shall
           forward a copy of this memorandum and order to the Clerk of the
           United States Court of Appeals for the Eighth Circuit.

     5.    The Clerk is also directed to mail a copy of this memorandum and
           order to the defendant at his last known address.

     Dated this 19th day of June, 2012.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




                                    -2-
